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                         UNITED STATES DISTRICT COURT
                     IN AND FOR THE DISTRICT OF WYOMING

  STEPHANIE WADSWORTH, Individually
  and as Parent and Legal Guardian of W.W.,
  K.W., G.W., and L.W., minor children, and
                                                Case No.: 2:23-cv-00118-KHR
  MATTHEW WADSWORTH,
                                                JURY TRIAL DEMANDED
                     Plaintiffs,

                v.

  WALMART, INC. and JETSON
  ELECTRIC BIKES, LLC,

                Defendants.

           PLAINTIFFS’ RESPONSE TO DEFENDANTS’ TRIAL BRIEF
                    FOR FEBRUARY 28, 2025 HEARING
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I.     The jury may infer that the hoverboard was defective.

       A. This Court ruled that Plaintiffs may present an inference of defect.

       This Court denied summary judgment because, inter alia, a jury could find based upon

Plaintiffs’ evidence that there was no abnormal use of the hoverboard and there were no secondary

causes of the defect. Accordingly, in this case, Wyoming permits “an inference that a product was

defective at the time it left the seller’s hands” because “a prima facie case can be presented that

there was no abnormal use of the product or that there were no reasonable secondary causes for

the defect.” Rohde v. Smiths Med., 165 P.3d 433, 437-38 (Wyo. 2007) (citing Sims v. GM, 751 P.2d

357, 360-61 (Wyo. 1988)); see also Ogle v. Caterpillar Tractor, 716 P.2d 334, 344 (Wyo. 1986)

(citing RESTATEMENT (SECOND) OF TORTS Section 402A).1

       As this Court has held, a jury could determine based upon Plaintiffs’ evidence that

Plaintiffs did not abnormally use the hoverboard and that there was no secondary cause of the

hoverboard defect.2 Indeed, Defendants did not argue—and still do not—that there was a

secondary cause creating the defect. Because, as the Court found, the record supports a prima facie

case of an inference that the hoverboard was defective, a jury instruction is warranted.

       Defendants now argue that 1) Plaintiffs did not plead an inference of defect theory, and 2)



1
   Defendants cite distinguishable cases where plaintiffs “did not present any evidence … to
counter” the defendant’s showing of a reasonable secondary cause of the product’s malfunction,
see Rohde, 165 P.3d at 439, whose “characterization of the evidence was not plausible,” see Tolman
v. Stryker, 640 F. App’x 818, 819 (10th Cir. 2016), and who actually “presented evidence … that
the malfunction may have been caused” by secondary causes. Sims, 751 P.2d at 360; see also
Bielskis v. Louisville Ladder, 663 F.3d 887, 887-98 (7th Cir. 2011) (plaintiff could not rule out
abnormal use because ladder had been used for seven years by other people before plaintiff used
it and plaintiff could not rule out wear and tear given age of the ladder); Rogers v. Johnson &
Johnson, 565 A.2d 751,754 (Pa. 1989) (holding that, contrary to defendants’ argument, plaintiff
need only present a case free of secondary causes).
2
  ECF 143 at 18-19 (“[B]ecause Wyoming allows an inference of defect when there is a prima
facie showing of no abnormal use or secondary cause, summary judgment would still be denied
even if the Court excluded Mr. King’s testimony.”).


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there is evidence of other reasonable secondary causes for the fire. As shown below, both

arguments fail.

       B. The federal rules do not prevent a jury instruction on an inference of defect.
       Defendants argue that inference of design defect theory must be pleaded separately from a

specific defect theory. Instead of pointing this Court to law that applies the Federal Rules of Civil

Procedure, Defendants rely on cases applying state court procedural law. White v. Mazda, 99 A.3d

1079, 1091-92 (Conn. 2014); Scanlon v. GM, 326 A.2d 673, 680-81 (N.J. 1974). However, “State

laws that solely address procedure and do not ‘function as a part of the State’s definition of

substantive rights and remedies’ are inapplicable in federal diversity actions.” Los Lobos

Renewable Power v. Americulture, 885 F.3d 659, 668 (10th Cir. 2018). Rather, Federal Rule of

Civil Procedure 8 governs the pleadings. Bledsoe v. Carreno, 53 F.4th 589, 598 n.7 (10th Cir.

2022). Contrary to Defendants’ argument, Rule 8 allows for an “imperfect statement of the legal

theory supporting the claim asserted” in a complaint. Johnson v. City of Shelby, 574 U.S. 10, 11

(2014) (“[N]o heightened pleading rule requires plaintiffs seeking damages for violations of

constitutional rights to invoke § 1983 expressly in order to state a claim.”); see also Enter. Mgmt.

v. Warrick, 717 F.3d 1112, 1120 (10th Cir. 2013) (“[W]e have never required plaintiffs to plead

their evidence.”); Brooks v. Mentor Worldwide, 985 F.3d 1272, 1281 (10th Cir. 2021) (“The degree

of specificity needed to establish and provide fair notice depends on the context and type of case.”).

       Further, in White, the Connecticut Supreme Court noted that “the defendants and the trial

court addressed only a claim based on a specific defect. Neither the defendants nor the court had

any reason to believe that the plaintiff was also raising a[n inference of] malfunction theory claim.”

White, 99 A.3d at 1092. Similarly, the New Jersey Supreme Court in Scanlon found that “[t]he

entire theory of the case, through discovery, pretrial, and the trial, was that there was a single and

specific defect ... that is the case defendants had every reason to believe they were defending


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against; and that is precisely the theory upon which the trial proceeded.” Scanlon, 326 A.2d at 680-

81. This is clearly not the case here, where in its Order on summary judgment, this Court discussed

Wyoming’s inference of a defect theory in regard to the Plaintiffs’ ability to show the existence of

a genuine issue of material fact as to the defectiveness element.3

       Next, Defendants argue that an inference of defect is inconsistent with Plaintiffs’ pleadings.

However, the federal rules do not prohibit inconsistent liability theories. See FED. R. CIV. P. 8(d)(3)

(“A party may state as many separate claims or defenses as it has, regardless of consistency.”); see

also Montano v. Christmas by Krebs, 239 F. App’x 625, 630 (10th Cir. 2008) (“Because a plaintiff

‘may not be sure in advance upon which legal theory she will succeed,” the rules of procedure

“permit parties to ‘set forth two or more statements of a claim or defense alternatively or

hypothetically ….”); U.S. v. Roe, 913 F.3d 1285, 1300 n.21 (10th Cir. 2019); see e.g. Burke v.

Holman, 750 F. App’x 616, 624 n.8 (10th Cir. 2018) (recognizing that estate “could have pled at

any point in the litigation that [the defendant doctor] was an employee of [the defendant hospital]

… and, separately, that [the defendant doctor] was not an employee of [the defendant hospital]

….”); Dean v. Wright Med., 593 F. Supp. 3d 1086, 1102 (D. Colo. 2022) (“Even if plaintiff’s

design and manufacturing defect claims are internally inconsistent, plaintiff is permitted to plead

claims in the alternative.”). Therefore, even if the specific design defect and inference of design

defect are inconsistent, such inconsistency has no bearing on Plaintiffs’ ability to assert them.

       Defendants also rely on Muskrat v. Deer Creek Pub. Sch., for the proposition that “[n]ew

liability theories after summary judgment are discouraged.” 715 F.3d 775, 791 (10th Cir. 2013).

However, Muskrat is easily distinguished. There, the plaintiffs brought a civil rights claim under



3
  Further, Defendants’ argument that it is too late for Plaintiffs to proceed on an inference of defect
theory is belied by the Federal Rules themselves, which allow for amendment of pleadings at trial
to conform them to the evidence. See FED. R. CIV. P. 15(b).


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the Fourteenth Amendment. Id. at 790. Later, in response to a summary judgment motion, the

plaintiffs asserted a Fourth Amendment claim. Id. Unlike in Muskrat, the Court here addressed

the inference of defect in its summary judgment Order. Moreover, unlike the Plaintiffs here, the

plaintiffs in Muskrat alleged an entirely new cause of action. The issue here is simply the method

of proving the strict liability claim.

          Finally, Plaintiffs adequately pled facts establishing an inference of design defect theory in

their complaint. Wyoming law states that “the inference of defectiveness arises ‘if a prima facie

case can be presented that there was no abnormal use of the product or that there were no

reasonable secondary causes for the defect.’” Tolman v. Stryker, 108 F. Supp. 3d 1160, 1163 (D.

Wyo. 2015) aff’d 640 F. App’x 818 (10th Cir. 2016). Unlike the plaintiff in Tolman, here,

Plaintiffs’ complaint repeatedly pleads facts giving rise to an inference of a defect. For the lack of

abnormal use, throughout the complaint, Plaintiffs plead that “[o]n February 1, 2022, [Plaintiff]

was using the Subject Hover Board for its ordinary purpose.”4 In addition, Plaintiffs’ experts King

and Schulz ruled out non-defect causes in their opinions.5 Accordingly, Defendants were on notice

of the evidence and allegations to support the two elements of the inference.

          C. Plaintiffs have presented a prima facie case that there was no abnormal use of the
             product and that there were no reasonable secondary causes for the defect.
          In their Trial Brief, Defendants apparently do not dispute Plaintiffs’ evidence that there

was no abnormal use of the hoverboard. However, Defendants contend that there is evidence of

other reasonable secondary causes for the product failure. Though Plaintiffs believe it not

necessary to re-explore an issue resolved at summary judgment stage, the analysis below explains

why Defendants’ argument is without merit.



4
    ECF 1 at 38; see also id. at 11, 16, 21, 27, 32, 43, 49, 54, 59.
5
    See Schulz Rpt. (Ex. 1); King Rpt. (Ex. 2) at 12-15.


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       Defendants conflate the standard of proof required to instruct the jury on an inference of

defect theory. Defendants argue that Plaintiffs “cannot rule out this alternative cause for the fire

and failure of two separate cells within the hoverboard,”6 but Plaintiffs need not disprove the

secondary cause beyond a reasonable doubt; rather, Plaintiffs must only establish a material issue

of fact as to the secondary cause presented by Defendants. Rohde, 165 P.3d at 438 (prima facie

case of defect made by “proof that in the absence of abnormal use or reasonable secondary causes

the product failed to perform” in reasonably expected manner) (internal citations omitted);7 see

also accord Allan E. Korpela, Strict Products Liability: Proof of Defect Under Doctrine of Strict

Liability in Tort, 51 A.L.R.3d 8, 15 (1973) (inference of defect may be appropriate “where there

is at least some evidence offered, or present in the circumstances surrounding the event, which

tends to eliminate or make improbable some other cause”).8

       In other words, Defendants’ ability to create a factual dispute does not prevent the jury

from resolving the question of whether there was a secondary cause of the defect:

       Evidence offered by the defendant that is contrary to the evidence offered by the
       plaintiff creates a question for the jury; it does not prevent the jury from relying
       upon the plaintiff’s evidence and inferring a defect. An inference need not be
       justified beyond all doubt and is not precluded by a mere possibility that the
       contrary may be true.




6
  ECF 170 at 9.
7
  Tweedy v. Wright Ford Sales, Inc., 64 Ill. 2d 570, 575 (1976), an Illinois case cited by Defendants,
reiterates the applicable more-likely-than-not standard: “[R]easonable inferences may be drawn
from established facts and all that can be reasonably required to establish controverted facts,
whether the evidence be direct or circumstantial, is that the evidence creates a greater or less
probability leading, on the whole, to a satisfactory conclusion, and on review (t)he inquiry is
whether the result reached below was one which is reasonable on the facts in evidence, not whether
other conclusions might also have been reached.” (internal citations omitted) (affirming lower
court’s finding that “there was no evidence of any reasonable secondary cause”).
8
  The Tenth Circuit cites to 51 A.L.R.3d 8, 15 in Weir v. Fed. Ins. Co., 811 F.2d 1387, 1392 (10th
Cir. 1987) (analyzing Colorado law) and Orth v. Emerson Elec. Co., White-Rodgers Div., 980 F.2d
632, 637 (10th Cir. 1992) (analyzing Kansas law).


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Weir v. Fed. Ins., 811 F.2d 1387, 1392 (10th Cir. 1987) (internal citations omitted) (explaining

that “inference of a defect is permissible whenever the plaintiff has introduced evidence that would

exclude other causes of the accident”).9

        Further, Defendants conflate the cause of the fire with the cause of the hoverboard’s defect.

While Defendants point to their own experts’ opinions about the cause of the fire,10 Defendants

offer no proof supporting an alternative cause of the hoverboard’s defect.

        The Supreme Court of Wyoming acknowledged this distinction in Rohde when it noted the

“analytical difference” between the law on inference of defect in Wyoming, which “requires the

plaintiff to show he is entitled to an inference that the product was defective because there no other

reasonable causes for the product’s failure” and a holding based on Illinois law which “considered

other causes of the plaintiff’s injuries.” Rohde, 165 P.3d at 439 (emphasis in original). The Rohde

court was clear that “[o]ther causes of the plaintiff’s injuries should be analyzed in determining

whether the product’s defect was the proximate cause of the injuries (the fifth element of a strict

liability claim), not in determining whether the product was defective (the second element of a

strict liability claim).” Id.

        Here, Defendants’ theory that the fire started from a cigarette—while relevant to

causation—is irrelevant to whether there was a secondary cause of the hoverboard’s defect. As

this Court recognized on the summary judgment record, Defendants have not shown a secondary

cause of the defect, and the inference of defect should be submitted to the jury.11

        D. Plaintiffs have offered proof that a fire in the shed is not a reasonable secondary
           cause of the hoverboard malfunction.


9
  The Tenth Circuit in Weir analyzed an inference of defect under Colorado law, but the point is
generally applicable as apparent by the court’s citation to Connecticut, Missouri, and Oklahoma
cases as support.
10
   See ECF 170 at 9 (referencing Filas and Gorbett reports).
11
   ECF 143 at 19.


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        In addition, contrary to Defendants’ argument, Plaintiffs have offered proof that the fire

originated from the hoverboard, and not from the shed. Mr. Schulz explained that “the initiation

of this fire based on my analysis is not related to a failure of an electrical system of the involved

[shed] structure”.12 Mr. Schulz saw no evidence establishing that the fire originated in the shed,13

and he “would expect the [shed] to be much more damaged” if the fire had originated in the shed.14

Mr. Schulz considered and evaluated both scenarios—that the fire started in the shed and that the

fire started in the house—and determined that “there’s no way to reach [the] conclusion” that

“there was a cigarette that was improperly discarded within that shed”. The “potential competing

hypotheses,” including Defendants’ shed theory, “when objectively evaluated and considered

against the totality of all the available data and information were found to be implausible.”15

        Likewise, Mr. King testified that “if these [battery] cells are susceptible to explosion due

to external heating, then I would expect more – most of the cells that were also exposed to fire to

also explode,” which led to his conclusion that “it’s more likely that the cells were an origin for

fire.”16 In his opinion, “[a] ruptured cell is more consistent with an internal short resulting in a cell

fire”,17 and “[s]ome observations can be made indicating the evidence is more consistent with an

interior origin versus an origin outside the bedroom window”.18 Based upon this evidence, the jury




12
   Schulz Dep. (Ex. 3) at 142:11-19.
13
   Schulz Dep. (Ex. 3) at 180:2-6; see also Schulz Dep. (Ex. 3) at 181:1-11 (“Q. Any evidence that
at the time that this fire began or originated, that it was due to a cigarette being improperly
discarded? A. No evidence at all. Q. Any evidence that you were able to observe and analyze that
would lead you to conclude that any malfunction with that shed was the cause of the fire? … The
Witness: No, because it’s not the origin of the fire. And the cause of every fire is necessary to
locate it within the area of origin.”).
14
   Schulz Dep. (Ex. 3) at 179:7-17.
15
   Schulz Rpt. (Ex. 3) at 158.
16
   King Dep. (Ex. 4) at 204:10-205:1; see also id. at 190:23-191:9, 192:1-2, 32:3-6, 51:2-14.
17
   King Rpt. (Ex. 2) at 10.
18
   King Rpt. (Ex. 2) at 6.


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could determine that the fire did not start in the shed and rather started from the hoverboard.

       Additionally, Defendants misconstrue the evidence when they argue that Plaintiffs’ experts

acknowledge reasonable secondary causes for the fire.19 While Mr. King stated that “lithium-ion

battery cells can fail when they are subject to an external fire attack”20 and that the cells “would

have the same appearance if it was an external fire attack,”21 nowhere does Mr. King opine that a

fire originating in the shed is a reasonable alternative cause. As mentioned above, Mr. King “would

expect more –most of the cells that were also exposed to fire to also explode” if the hoverboard

was attacked by fire externally.22 Also, Mr. Schulz did not “conced[e] at his deposition … that a

smoldering cigarette could have caused the fire[.]”23 Mr. Schulz agreed only that “a fire that

initiates from careless disposal of smoking material … generally can be a smoldering type fire”24

and that a smoldering type fire “could initiate a lengthy time after the careless disposal of smoking

materials occurs.”25 Mr. Schulz’s acknowledgment that a two-to-three-hour time lapse between

smoking in a shed and initiation of a fire cannot be used to exclude the secondary cause was in

response to a hypothetical posed by defense counsel “assuming it was due to careless use of

smoking material.”26

       Ultimately, Defendants attempt to place too high of a burden on the Plaintiffs. Plaintiffs

need only demonstrate that it is more likely than not that Defendants’ hoverboard is defective.




19
   ECF 170 at 8. Because Defendants’ theory of the fire’s origin is not a secondary cause of the
hoverboard’s malfunction, Plaintiffs contend that their cited testimony of Plaintiffs’ experts
testimony for this point is not relevant to the inference of defect analysis.
20
   King Dep. (Ex. 4) at 190:7-10 (emphasis added).
21
   King Dep. (Ex. 4) at 192:9-14 (emphasis added).
22
   King Dep. (Ex. 4) at 204:10-205:1.
23
   ECF 170 at 9.
24
   Schulz Dep. (Ex. 3) at 136:9-14 (emphasis added).
25
   Schulz Dep. (Ex. 3) at 136:16-21.
26
   Schulz Dep. (Ex. 3) at 136:22-137:1-5 (emphasis added).


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Based upon Plaintiffs’ evidence, a jury can conclude, by a preponderance of the evidence, that

there was no secondary cause for the defect.

II.    The “Rogue” Model, Kaufman Matter and Other Disclosed Incidents are
       Substantially Similar
       In the second part of their brief, Defendants repeat the same arguments already rejected by

this Court in its order on their motions in limine on evidence related to the Rogue recall and

Kaufman case. Indeed, Defendants rely on the very same caselaw presented in the parties’ motions,

and they offer no reason for this Court to reconsider its decision that this evidence is relevant and

not unduly prejudicial.27 Defendants’ Trial Brief amounts to little more than a disagreement with

this Court’s application of the substantial similarity test, and a conclusory analysis of their

preferred interpretation to a number of Plaintiffs’ trial exhibits. However, as explained below, each

exhibit satisfies the substantial similarity test as applied by the Tenth Circuit and this Court.

       As Plaintiffs explained in their opposition, similar accidents or failures hold great

relevance, because such failures tend to make the existence of a defect more probable. In re Cooper

Tire, 568 F.3d 1180, 1191 (10th Cir. 2009). The degree of similarity required to ensure relevance

depends on the theory of defect in the case. Four Corners Helicopters v. Turbomeca, 979 F.2d

1434, 1440 (10th Cir. 1992). To show notice, the incidents must be similar enough that they would

have alerted the defendant to the problem or danger at issue. Smith v. Ingersoll-Rand, 214 F.3d


27
  See Black v. M & W Gear, 269 F.3d 1220, 1227 (10th Cir. 2001); Smith v. Ingersoll-Rand, 214
F.3d 1235, 1248 (10th Cir. 2000). These cases either support finding substantial similarity across
Jetson’s hoverboard lithium-ion battery-powered product line or are distinguishable. In Smith, the
court found that, although the milling machines from other incidents were of different sizes, and
thus their blind spots (which was one of the issues in the case) varied, they were substantially
similar. 214 F.3d at 1249. In Black, the plaintiff had not “made any attempt to establish the
substantial similarity of the tractor rollovers reported in the in the Arndt article” which led to the
court “assum[ing], therefore, that such a showing was not made[.]” 269 F.3d at 1227. The court
otherwise found that an expert’s testimony regarding investigations of other rollover accidents
involving small tractors used primarily for mowing was sufficient to satisfy the substantial
similarity test. Id. at 1230.


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1235, 1248 (10th Cir. 2000). But any incident, including subsequent incidents, may show that a

product is defective. Id. Importantly, the substantial similarity rule does not require identical

products; nor does it require comparison of the products in their entireties. Id. The rule requires

substantial similarity among the variables relevant to the plaintiff’s theory of defect. Id.

       In applying the substantial similarity rule, and rejecting Defendants’ attempt to exclude

alleged prior incidents related to the Rogue model hoverboard, this Court noted that Plaintiffs

“need not show the models are identical[,]”28 and that, “[m]ost importantly, the events are

substantially similar in that both involved a house fire where the alleged point of origin was a

Jetson hoverboard and the causes being lithium-ion battery failures.”29 Defendants contend that

“Plaintiffs cannot prove that there is a ‘high degree of similarity’ between the Rogue and Plasma

models” for the reasons presented in their motion in limine.30 However, this was the very standard

this Court expressly applied in rejecting Defendants’ arguments related to incidents occurring after

the instant case, including the Kaufman incident and Rogue recall.31

       As explained in previous briefing, the Rogue hoverboard was recalled due to fact that “the

lithium-ion battery packs in the self-balancing scooters/hoverboards can overheat, posing a fire

hazard.”32 As the recall notice states, “This product is too dangerous to be in homes.”33 When

Jetson CEO Sam Husain was questioned about Jetson’s Rogue model and its recall, he was unable

to identify any significant differences between the Rogue’s battery pack and that of the subject

Plasma, except for testifying that Plasma has a slightly higher capacity; however, he said that had




28
   ECF163 at 11.
29
   ECF163 at 11.
30
   ECF170 at 13 (citing ECF 140 at 2-5).
31
   ECF 163 at 9.
32
   See ECF 123-5; ECF 123-9.
33
   Recall Notice (Ex. 5) at 1.


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a very minimal impact on the battery’s potential risk of fire or explosion.34 Mr. Husain also testified

that the recalled Rogue model had a battery pack from the same manufacturer the Plasma model,35

and that the two batteries are “pretty similar”.36 Thus, Jetson’s recall of over 53,000 Rogue

hoverboards, whose battery packs are similar to those of Plasma hoverboards, with the only

difference being a very minimal difference in capacity, is extremely relevant for a jury’s

consideration. Additionally, the Kaufman case, which was settled by Jetson and involved a lithium-

ion battery explosion in a Rogue model resulting in deaths, should be admissible on the issue of

product defect given the similarity between the two models. The Kaufman case was the straw that

broke the camel’s back prior to the issued recall.

       Turning to Demark, Hottenstein, Mendoza, and Reichley, in line with this Court’s order,

each case involved “a house fire where the alleged point of origin was a Jetson hoverboard and the

causes being lithium-ion battery failures.”37 While these cases involve different Jetson hoverboard

models—Glyro and Strike—Defendants acknowledge that they are making the same arguments

about differences between battery cell capacity and/or manufacturer that they made when they

failed to refute Plaintiffs’ showing of substantial similarity between the Rogue and Plasma models



34
   ECF 123; ECF 119; Husain Dep. (Ex. 6) at 103-104.
35
   Husain Dep. (Ex. 6) at 102:2-19.
36
   Husain Dep. (Ex. 6) at 102:2-19.
37
   ECF 170-3 ⁋ 9 (“That on September 27, 2017, a Gyro Self Balancing Scooter’s battery pack
overheated, resulting in a fire, which caused extensive damage to the Plaintiff’s home.”); ECF
170-4 ⁋ 26 (“On or about November 25, 2019, the Product [a Jetson Glyro flashing LED electric
scooter and component parts, including a battery charger and lithium-ion rechargeable batteries]
malfunctioned, caught fire and caused a fire inside of the Dwelling and caused damage to the
Dwelling[.]”); ECF 170-5 ⁋ 8 (“The Hoverboard was designed, manufactured, assembled and sold
in a defective condition, unreasonably dangerous to Mendoza, in that on or about November 14,
2019, the [Jetson Strike] Hoverboard caught fire, which resulted in damage to Mendoza’s
residence and personal property.”); ECF 170-6 ⁋ 13 (“On September 15, 2021, the subject Self-
Balancing Scooter / Hoverboard was being stored in the living room closet of Plaintiffs home when
it suddenly and unexpectedly ignited, which quickly spread to nearby combustible materials,
causing the home to be engulfed with flames and smoke.”).


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at the motion in limine stage.38 Regardless, each Jetson hoverboard model at issue—Plasma,

Rogue, Glyro, Strike, Hali, and Spin—operates with the same design where the battery pack and

circuit boards are in the same positions consistent with the typical schematic for a hoverboard;39

remains in closed circuit even when the board is turned off,40 which increases the risk of failure as

demonstrated throughout the product line; and, with the possible exception of the Glyro model,

contains a circuit board manufactured by the same manufacturer.41 And again, each is a Jetson

hoverboard powered by rechargeable 18650 lithium-ion batteries that have been the alleged source

of origin of malfunction resulting in overheating, smoking, and catching fire.42 Even if Plaintiffs

were called upon to show similarities between the batteries amongst the various Jetson models,

which again this Court and the referenced case law has not required, Jetson’s own materials show

those similarities in battery capacity: Plasma – 36V, 2.5 Ah lithium-ion; Rogue – 24V, 4.0 Ah

lithium-ion; Rave – 24V, 4.0 Ah lithium-ion; Hali X – 25.2V, 4.0 Ah lithium-ion; Strike – 36V, 2.0

Ah lithium-ion; Plasma – X 36V, 2.0 Ah lithium-ion; Sync – 36V, 2.0 Ah lithium-ion; Mojo – 36V,

2.0 Ah lithium-ion; Tracer – 36V, 2.0 Ah lithium-ion.43 The Jetson CEO, Sam Husain, testified that

the Rogue and Plasma battery capacities were pretty similar and the difference in capacity had a




38
   ECF 170 at 13-14 (citing Defendant’s argument in ECF 140 at 2-5 that Plaintiffs cannot show
sufficient similarity where the Rogue and Plasma models “utilized different capacity battery cells
and the cells were manufactured by different manufacturers[,]” and then repeating this argument
as applied to the Gyro and Strike models.
39
   Id. and (Ex. 7) Typical Hoverboard Schematic produced by Def. Expert Sudler.
40
   ECF 170-3 at 114 (Sudler Report in Demark); and (Ex. 8) Def. Expert Sudler Report at 26.
41
   Sudler Dep. (Ex. 9) at 128:11-129:17.
42
   See, e.g. ECF 170-4 ⁋ 16, 26 (involving a “Jetson Glyro flashing LED electric scooter and
component parts, including a battery charger and lithium-ion rechargeable batteries” that
“malfunctioned, caught fire and caused a fire inside of the Dwelling”), ECF 170-5 ⁋ 6 (involving
a “Jetson Strike hoverboard” that caught fire), ECF 170-7 at 18 (CPSC report of a Hali Jetson
hoverboard smoking); id. at 19 (CPSC report of a Spin Jetson hoverboard, while not being charged
or used, overheating and melting).
43
   See Jetson Product Manuals (Ex. 10).


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“very minimal” impact on any additional risk of fire or explosion.44 It stands to reason that, given

the similarities between the Plasma and Rogue batteries, all the other Jetson models that have the

same or similar capacity lithium-ion battery would also be considered similar to the Plasma.

       Defendants argue that, because the Glyro model pre-dated the UL 2272 standard, Plaintiffs

cannot prove a substantial similarity, but they do not explain how this fact is relevant, let alone

dispositive.45 Moreover, like in their motion in limine, where they failed to refute the substantial

similarity between the Rogue and Plasma models with the testimony of Mr. Husain, Defendants

point to no such support or testimony with respect to any of the other Jetson hoverboard models

identified in their trial brief.46 As Plaintiffs explained in their response to Defendants’ motion in

limine, “the nature of the defect in all Jetson hoverboard incidents is the same, to wit: the defective

cells within the battery failed. Whether plugged in to a charger or not, the batteries failed.”47

       Further, all of the incidents in Demark, Hottenstein, Mendoza, and Reichley predate both

the February 1, 2022 accident and Plaintiffs’ December 2021 purchase of the product at issue,48

and two of the complaints, Denmark and Mendoza were filed on September 18, 2020 and



44
   Husain Dep. (Ex. 6) at 103:8-104:20.
45
   To be clear, UL certification is not a design standard but a post design certification.
46
   While Defendants contend that this Court’s application of the substantial similarity test is too
broad, it is limited by Plaintiffs’ theory of the design defect. For example, this Court excluded
evidence related to an incident involving an RC car battery “because it does not involve a lithium-
ion battery failure.” ECF 163 at 13. Defendants highlight a proposed Plaintiffs’ exhibit from the
National Fire Protection Association (“NFPA”) safety notice “E-Bike and E-Scooter Safety.”
While Jetson has a line of electric bikes and electric scooters, the NFPA Safety Notice is relevant
to Plaintiffs’ defect theory, concerns lithium-powered electric vehicles, and warns that “[d]amaged
or defective batteries can overheat, catch fire, or explode.” ECF 170-10.
47
   ECF 149-0 at 6. Defendants cite Plaintiffs’ expert Derek King’s testimony regarding the failure
of individual battery cells, but as this Court noted in its summary judgment order, even without
his testimony, Wyoming law allows an inference of defect when there is a prima facie showing of
no abnormal use or secondary cause. ECF 143 at 18-19. These failures of other Jetson lithium ion
battery-powered hoverboard models would therefore be relevant with or without his testimony.
48
   See ECF 170-3 ⁋ 9 (September 27, 2017); ECF 170-4 ⁋ 26 (November 25, 2019); ECF 170-5
(November 14, 2019); ECF 170-6 ⁋ 13 (September 15, 2021).


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September 17, 2021 respectively, naming Jetson Electric Bikes, LLC as a defendant.49 In addition

to their relevance to the existence of defect, these cases are also relevant to Defendants’ notice that

the lithium-ion battery powered hoverboards posed an unreasonable risk of fire injury, and

therefore the more relaxed standard for the substantial similarity test would apply. See In re

Cooper, 568 F.3d at 1191.50

       Defendants next argue that the CSPC reports are inadmissible hearsay. Under Rule 803,

hearsay is admissible if it takes the form of a public record and contains “factual findings from a

legally authorized investigation.” See FED. R. EVID. 803(8)(A)(iii). The CPSC is an independent

Federal agency, created under the Consumer Product Safety Act. See 15 U.S.C. §§ 2051 et seq.

The CPSC is charged with conducting investigations of potentially dangerous products and issuing

safety alerts and recalls when appropriate. Further, while all of the CSPC reports are relevant to

the defect, the majority of these incidents occurred before the date of Plaintiffs’ purchase.51 For

these, Defendants were notified when the CSPC reports were submitted, again, before both

Plaintiffs’ accident and purchase date. Similarly, the Facebook posts to the Jetson Facebook page

and Amazon reviews on Jetson hoverboard products provided Defendants with further notice of




49
   See ECF 170-3 at 7; ECF 170-5 at 7.
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   ECF 163 at 13 (“Because the Donwell incident occurred before the instant action, Plaintiffs do
not need to meet the higher degree of similarity as required to show the existence of defect.”).
51
   ECF 170-7 at 2 (1-17-16 incident where batteries of Jetson Glyro hoverboard “apparently
overheated and caught fire”; sent to manufacturer 2-1-16); id. at 3 (7-6-16 incident where Glyro
hoverboard sparks when being charged and battery “gets very hot”; sent to manufacturer 7-14-16);
id. at 5 (6-6-20 incident where Jetson hoverboard “made a loud popping sound and started
smoking” and later caught fire; sent to manufacturer 6-19-20); id. at 9 (1-27-21 incident where
Jetson hoverboard exploded and caught fire in garage while unplugged; sent to manufacturer 2-
19-21); id. at 10 (8-30-21 incident where unplugged hoverboard “spontaneously combusted in the
night” and “lit [the] carpet on fire”; sent to manufacturer 9-3-21). Subsequent incidents are also
evidence of malfunctions in the Jetson lithium-ion battery powered hoverboards. See id. at 11
(Jetson hoverboard “spontaneously burned from battery.”); id. at 18 (Jetson hoverboard smoking);
id. at 19 (Jetson hoverboard overheated and melted while not being charged or used).


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the unreasonable risk of injury that their products posed to Plaintiffs and demonstrate that

Defendants failed to mitigate that risk. When introduced for this purpose, these social media posts

are not hearsay and are relevant to Defendants’ knowledge of the fire hazard caused by defects in

their lithium-ion battery-powered hoverboard line.

         Defendants’ argument that the CSPC complaints, Facebook complaints, and Amazon

customer reviews would be unduly prejudicial under Fed. R. Evid. 403 is conclusory and provides

no reason for this Court to reconsider its ruling that other substantially related incidents were not

unfairly prejudicial and will not waste time or confuse jurors. See Wheeler v. John Deere, 862 F.2d

1404, 1408-09 (10th Cir. 1988) (“Any differences in the accidents not affecting a finding of

substantial similarity go to the weight of the evidence[,]” and “exclusion of relevant evidence

under Rule 403 is an extraordinary remedy to be used sparingly.” (quotation mark omitted)).52 For

these reasons, consistent with this Court’s February 11, 2025 order, these prior incidents are

substantially similar to how the existence of defect.

         III.   Conclusion
         For these reasons and this Court’s prior rulings, this Court should permit Plaintiffs to

proceed on an inference of defect theory and present evidence of substantially similar incidents.




52
     ECF 163 at 13.


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Date: February 21, 2025                                 Respectfully Submitted,



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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 21, 2025, a true and correct copy of the foregoing

was electronically filed with the Clerk of Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.

                                                               /s/ T. Michael Morgan
                                                               T. Michael Morgan




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